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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5
     Attorney for Defendant
6    RASHAWN JACKSON

7
                         IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,       )
                                     )     Case No. 2:06-cr-00476-MCE
12                    Plaintiff,     )
                                     )     STIPULATION AND ORDER
13              v.                   )
                                     )     DATE: November 15, 2007
14   RASHAWN JACKSON, NICHOLAS       )     TIME: 9:00 a.m.
     RAPIER, and ANDREW CONWAY,      )     JUDGE: Hon. Morrison C. England, Jr.
15                                   )
16                    Defendants.    )
                                     )
17   ____________________________

18
19         It is hereby stipulated and agreed to between the United States of
20   America through JASON HITT, Assistant U.S. Attorney, and defendants
21   RASHAWN JACKSON, by and though his attorney, RACHELLE BARBOUR,
22
     Assistant Federal Defender, NICHOLAS RAPIER, by and through his
23
     attorney KRESTA DALY, Esq., and ANDREW CONWAY, by and through his
24
     attorney, DAN KOUKOL, Esq., that the status conference of October 11,
25
     2007 be vacated and that a status conference be set for November 15,
26
     2007 at 9:00 a.m.
27
28   ///
           Case 2:06-cr-00476-MCE Document 47 Filed 10/12/07 Page 2 of 3


1         This continuance is being requested because the parties need
2    additional time to discuss the case with the government and negotiate
3    plea agreement.   Counsel must review numerous audio recordings and
4
     other discovery, and discuss them with their clients.         Mr. Conway’s
5
     counsel has recently come into the case and needs additional time to
6
     receive discovery and review it with his client.
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1          The parties request that speedy trial time is be excluded from
2    the date of this order through the date of the status conference set
3    for November 15, 2007       pursuant to 18 U.S.C. §§ 3161 (h)(8)(B)(iv)
4
     [reasonable time to prepare] (Local Code T4).
5
     DATED: October 9, 2007              Respectfully submitted,
6
                                         DANIEL J. BRODERICK
7                                        Federal Defender
8                                        /s/ RACHELLE BARBOUR
9
                                         RACHELLE BARBOUR
10                                       Assistant Federal Defender
                                         Attorney for Defendant RASHAWN JACKSON
11
                                         McGREGOR SCOTT
12                                       United States Attorney
13                                       /s/ Rachelle Barbour for
     DATED: October 9, 2007
14                                       JASON HITT
15                                       Assistant U.S. Attorney

16
                                         /s/ Rachelle Barbour for
17   DATED:    October 9, 2007
                                         KRESTA DALY
18                                       Attorney for defendant NICHOLAS RAPIER
19   DATED:    October 9, 2007         /s/ Rachelle Barbour for
                                         ____________________________________
20                                       DAN KOUKOL
21                                       Attorney for defendant ANDREW CONWAY

22                                        O R D E R

23        IT IS SO ORDERED.
24
     Dated: October 12, 2007
25
26                                           _____________________________
27                                           MORRISON C. ENGLAND, JR.
                                             UNITED STATES DISTRICT JUDGE
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